                                                 Timothy M. Lynch, Esq.
                                                 Hozubin, Moberly, Lynch & Associates
                                                 711 M Street, Suite 2
                                                 Anchorage, AK 99501
                                                 (907) 276-5297 telephone
                                                 (907) 276-5291 facsimile
                                                 tlynch@northlaw.com

                                                 Attorneys for Great Divide Insurance Company

                                                                          IN THE UNITED STATES DISTRICT COURT

                                                                                 FOR THE DISTRICT OF ALASKA

                                                 GREAT DIVIDE INSURANCE COMPANY,                         )
                                                 a North Dakota Corporation,                             )
711 M Street, Suite 2, Anchorage, Alaska 99501




                                                                                                         )
    Hozubin, Moberly, Lynch & Associates




                                                             Plaintiff,                                  )
      P: 907.276.5297 F: 907.276.5291




                                                 v.                                                      )
                                                                                                         )
                                                 BEAR MOUNTAIN LODGE, LLC, et al.                        )   Case No. 3:15-cv-00189-JWS
                                                                                                         )
                                                             Defendants.                                 )
                                                                                                         )

                                                               NOTICE OF DISMISSAL BEFORE ANSWER OF RECON AIR
                                                                               [FRCP 41(a)(1)(A)(i)]

                                                             COMES NOW Plaintiff, Great Divide Insurance Company, by and through its

                                                 counsel of record, Hozubin, Moberly, Lynch & Associates, and hereby files a Notice of

                                                 Dismissal Before Answer in accordance with Fed. R. Civ. P. 41(a)(1)(A)(i) of Recon Air, a

                                                 foreign corporation incorporated in Canada. Each party shall bear its own costs and attorney

                                                 fees incurred in this matter.

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                                                 Notice of Dismissal Before Answer - Recon Air                                            Page 1 of 2
                                                 Great Divide Insurance Co. v. Bear Mountain Lodge, et al.         Civil Action No. 3:15-cv-00189-JWS


                                                      Case 3:15-cv-00189-JWS Document 32 Filed 12/15/15 Page 1 of 2
                                                                DATED at Anchorage, Alaska, this 15th day of December 2015.

                                                                                                          HOZUBIN, MOBERLY, LYNCH & ASSOCIATES
                                                                                                          Attorneys for Great Divide Insurance Company

                                                                                                          By:       /s/Timothy M. Lynch_______________
                                                                                                                    Timothy M. Lynch
                                                                                                                    Alaska Bar No. 7111030
                                                                                                                    HOZUBIN, MOBERLY, LYNCH & ASSOCIATES
                                                                                                                    711 M Street, Suite 2
                                                                                                                    Anchorage, AK 99501
                                                                                                                    (907) 276-5297 telephone
                                                                                                                    (907) 276-5291 facsimile
                                                                                                                    tlynch@northlaw.com
711 M Street, Suite 2, Anchorage, Alaska 99501




                                                 CERTIFICATE OF SERVICE
    Hozubin, Moberly, Lynch & Associates

      P: 907.276.5297 F: 907.276.5291




                                                 The undersigned hereby certifies that
                                                 on the 15th day of December, 2015, a true and
                                                 correct copy of the foregoing was served
                                                 ELECTRONICALLY via CM/ECF on:

                                                 Blake H. Call, Esq.
                                                 Call & Hanson, P.C.
                                                 413 G Street
                                                 Anchorage, AK 99501

                                                 David K. Gross, Esq.
                                                 Birch Horton Bittner & Cherot
                                                 1127 West Seventh Avenue
                                                 Anchorage, AK 99501

                                                 James N. Leik, Esq.
                                                 Perkins Coie, LLP
                                                 1029 West 3rd Avenue, Suite 300
                                                 Anchorage, AK 99501


                                                 HOZUBIN, MOBERLY, LYNCH & ASSOCIATES

                                                 By: /s/Timothy M. Lynch
                                                 4824.32/Court Documents/Drafts/2015-12-15 Notice of Dismissal of Recon Air




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